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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                                 20-MJ-2105

DANIEL HANSEN,

       Defendant.

     ORDER GRANTING UNITED STATES’ UNOPPOSED MOTION FOR FORM 13
                        PRESENTENCE REPORT

       THIS MATTER is before the Court on the United States’ Motion for Form 13 Presentence

Report (“Motion”). Doc. 20. Having reviewed the Motion, noting the parties’ concurrence, and

finding that good cause exists, the Court finds the Motion to be well-taken and will GRANT it.

       IT IS THEREFORE ORDERED that the United States Probation Office prepare a Form

13 Presentence Investigation Report for Defendant Daniel Hansen.

       IT IS SO ORDERED.




                                            ___________________________________
                                            THE HONORABLE KIRTAN KHALSA
                                            UNITED STATES MAGISTRATE JUDGE
